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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

                                CASE NO. 1:18-cv-22922-MOORE/SIMONTON


   GERALDINE BUENAVENTURA,
   as personal representative of the
   estate of BEN BUENAVENTURA,

           Plaintiff,

   v.

   NCL (BAHAMAS) LTD.,
   D-I DAVIT INTERNATIONAL, INC.,
   HATECKE SERVICE USA, LLC., and
   D-I DAVIT INTERNATIONAL-HISCHE
   GMBH,


           Defendants.
                                            /

                                        [proposed]
                                         ORDER
                   PLAINTIFF’S UNOPPOSED RENEWED MOTION FOR REMAND

           THIS CAUSE came before the court on Plaintiff’s Renewed Motion for Remand, and the Court

   having considered said Motion and otherwise having been fully advised in the premises, it is:

           ORDERED AND ADJUDGED:

           Plaintiff’s Renewed Motion for Remand is GRANTED. This matter is remanded in its entry for

   the Circuit Court of the Eleventh Judicial Circuit in and for Miami Dade County, all pending motions are

   denied, and this case is closed.

           DONE AND ORDERED in Chambers at Miami, Florida this ___day of ___________, 2020.


                                                   _______________________________________
                                                   K. MICHAEL MOORE
                                                   UNITED STATES DISTRICT COURT JUDGE


   Copies furnished to: Counsel of Record
